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          4     Attorneys for Defendant
                Roza Gasparian
          5

          6

          7
                                     UNITED STATES DISTRICT COURT
          8
                                   EASTERN DISTRICT OF CALIFORNIA
          9

         10
                THE UNITED STATES OF           )              CASE NO. 05 CR 00343 (FCD)
         11     AMERICA,                       )
                                               )              STIPULATION AND ORDER RE
         12               Plaintiff,           )              CONTINUANCE OF STATUS
                                               )              CONFERENCE DATE
         13          v.                        )
                                               )
         14     MANUK SHUBARALYAN, et al. )                   Status Conference
                                               )              Date:      October 10, 2006
         15                                    )              Time:      9:30 a.m.
                          Defendant.           )              Judge: Hon. Judge Frank C. Damrell Jr.
         16                                    )
                ______________________________ )              “AS MODIFIED”
         17

         18            TO THE UNITED STATES ATTORNEY, AND TO THE U.S. DISTRICT
         19            COURT:
         20            Defendant, ROZA GASPARIAN, by and through her attorneys of record,
         21     the Law Offices Of Mark J. Werksman, defendant, MANUK SHUBARALYAN,
         22     by and through his attorneys of record, the Law Offices of Jilbert Tahmazian;
         23     defendant, YURIK SHAKHBAZYAN, by and through his attorneys Minassian &
         24     Bagndaian; and Plaintiff, UNITED STATES OF AMERICA, through its attorney
         25     of record, Steven Lapham from the United States Attorney’s Office for the Eastern
         26     District of California, hereby agree, stipulate and request the Court to continue the
         27     status conference date in this matter from October 10, 2006 at 9:30 a.m. to
         28     November 20, 2006 at 9:30 a.m. This continuance is necessary for the parties to
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11th Floor
Los Angeles, CA 90017                                     1
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          1     attempt to negociate a case settlement. The parties further stipulate that:
          2            1.         For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161

          3                       et seq., within which the status conference must commence, the time period of

          4                       October 10, 2006 to November 20, 2006, inclusive, is deemed excludable

          5                       pursuant to 18 U.S.C. §3161 et seq. 3161(h)(8)(A) & (B)(iv), Local Code T-4

          6            IT IS SO STIPULATED.

          7

          8     Dated: October 4, 2006                         United States Attorney
                                                               Debra W. Yang
          9

         10                                                    By:       /s/ Steven Lapham
                                                                      Steven Lapham, Esq.
         11                                                           Assistant United States Attorney
                                                                      Attorneys for Plaintiff
         12                                                           United States of America

         13                                                    Law Offices of Mark Werksman

         14     Dated: October 4, 2006                         By: ___________________________
                                                                      Mark J. Werksman, Esq.
         15                                                           Attorney for Defendant
                                                                      Rose Gasparian
         16

         17     Dated: October 4, 2006                         Law Offices of Jilbert Tahmazian

         18
                                                               By:    /s/ Jilbert Tahmazian
         19                                                           Jilbert Tahmazian, Esq.
                                                                      Attorneys for Defendant
         20                                                           Manuk Shukbaralyan

         21
                Dated: October 4, 2006                         Minassian & Bagndaian
         22

         23                                                    By:    /s/ Fred G. Minassian
                                                                      Fred G. Minassian, Esq.
         24                                                           Attorneys for Defendant
                                                                      Yurik Shakhbazyan
         25            IT IS SO ORDERED.

         26     Dated: October 4, 2006                         /s/ Frank C. Damrell Jr.
                                                               Honorable Frank D. Damrell Jr.
         27                                                    United States District Judge

         28

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